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__________________________________________________________________
                                               SO ORDERED,




                                               Judge Jamie A. Wilson
                                               United States Bankruptcy Judge
                                               Date Signed: April 16, 2024


             The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________

                           UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                   JACKSON DIVISION


 IN RE:

 SYLVIA D. COLLINS                                            CASE NO. 24-00511-JAW
                                                              CHAPTER 13
                 Debtor.


                        AGREED ORDER RESOLVING
            OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN (#24)



        THIS MATTER having come on for consideration of the Objection to Confirmation of

Chapter 13 Plan (Dkt.#24) filed on behalf of TD Bank, N.A. (“TD Bank”), the record herein and

the stipulations of counsel for Debtor and counsel for TD Bank, and the Court being further

advised that the parties have reached an agreement on the secured claim treatment regarding the

Debtor’s 2018 Nissan Altima, VIN 1N4AL3AP4JC152796 (“Vehicle”), on which TD Bank

holds a lien; and it is therefore

        ORDERED, ADJUDGED AND DECREED that TD Bank’s secured claim with respect

to the Vehicle shall be allowed and paid in its full amount of $10,471.98, together with Till

interest of 10.00%, through Debtor’s Chapter 13 Plan.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, in accordance

with 11 U.S.C. § 1325(a)(5)(B)(i), TD Bank shall not be required to release its lien on the


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Vehicle until the earlier of payment of the underlying debt determined under nonbankruptcy law

or discharge under 11 U.S.C. § 1328.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that this Agreed Order

shall supersede and control the amount and interest to be paid on TD Bank’s secured claim under

the Debtor’s Chapter 13 Plan to the extent any Amended Chapter 13 Plan filed by the Debtor in

the future is inconsistent.

                                   ##END OF ORDER##

APPROVED FOR ENTRY:



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